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 7
                           UNITED STATES DISTRICT COURT
 8
                          EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,     ) 1:10-cr-462 LJO
11                                 )
                    Plaintiff,     ) STIPULATION AND ORDER
12                                 ) THEREON FOR CONTINUANCE
                 v.                ) (NOTE COMMENT RE GOOD CAUSE)
13                                 )
     BOUNEPHENG SAVONGSY and       )
14   PHOUSANGKHY PHANTHADETH,      )
          aka “Phou,”              )
15                                 )
                    Defendants.    )
16   ______________________________)
17        Defendant BOUNEPHENG SAVONGSY by and through his attorney,
18   YAN SHRAYBERMAN, Defendant PHOUSANGKHY PHANTHADETH by and through
19   his attorney, MARIO DISALVO, and the United States of America, by
20   and through its attorneys, BENJAMIN B. WAGNER, United States
21   Attorney, and KAREN A. ESCOBAR, Assistant United States Attorney,
22   hereby stipulate that the Status Conference set for July 8, 2011,
23   be continued to July 29, 2011, at 9:00 a.m. due to the
24   unavailability of counsel for defendants SAVONGSY and
25   PHANTHADETH1 and to further plea negotiations in this matter.
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27        Counsel for defendant PHANTHADETH has a court hearing in
     San Diego which will prevent his ability to appear in this
28   district on Friday. Counsel for defendant SAVONGSY also advised
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 1        The parties agree that the delay resulting from the
 2   continuance shall be excluded in the interests of justice herein
 3   for effective defense preparation and continued investigation,
 4   case resolution, and availability of defense counsel, pursuant to
 5   18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
 6
 7   Dated: July 5, 2011                    Respectfully submitted,
 8                                          BENJAMIN B. WAGNER
                                            United States Attorney
 9
10                                    By:   /s/ Karen A. Escobar
                                            KAREN A. ESCOBAR
11                                          Assistant U.S. Attorney
12   Dated: July 5, 2011                    /s/ Yan Shrayberman
                                            YAN SHRAYBERMAN
13                                          Attorney for Defendant
                                            BOUNEPHENG SAVONGSY
14
15   Dated: July 5, 2011                    /s/ Mario DiSalvo
                                            MARIO DISALVO
16                                          Attorney for Defendant
                                            PHOUSANGKHY PHANTHADETH
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28   that he is unavailable to appear this Friday.
                Case 1:10-cr-00462-LJO Document 96 Filed 07/06/11 Page 3 of 3


 1                                       O R D E R
 2            IT IS THE ORDER OF THE COURT THAT the status conference
 3   currently set in this matter for July 8 shall be continued to
 4   July 29, 2011, at 9:00 a.m.
 5            THE COURT FURTHER FINDS based on the reasons articulated by
 6   the parties that the continuance in the “ends of justice”
 7   outweighs the interest of the public and the defendants in a
 8   speedy trial under the Speedy Trial Act and the intervening
 9   period of delay shall be excluded in the interests of justice
10   pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
11            NOTE: WHEN A CASE IS SET WITH THE AGREEMENT OF COUNSEL,
12   HAVING A CONFLICT IN ANOTHER COURTROOM PRESENTS A CONFLICT FOR
13   THE OTHER COURT.          FUTURE STIPULATIONS FOR CONTINUANCES ON THIS
14   GROUND WILL BE FOUND TO BE LACKING IN GOOD CAUSE.
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16            IT IS SO ORDERED.
17   Dated:     July 6, 2011                  /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
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